Case 1:20-md-02930-RGA           Document 1598 Filed 10/21/24             Page 1 of 2 PageID #:
                                          57316



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 In re Entresto (Sacubitril/Valsartan)                   C.A. No. 20-2930-RGA
 Patent Litigation



 NOVARTIS PHARMACEUTICALS                                C.A No. 22-1395-RGA
 CORPORATION

        Plaintiff,

        v.

 GERBERA THERAPEUTICS, INC.,
 NANJING NORATECH
 PHARMACEUTICAL CO. LIMITED,

        Defendants.


     DEFENDANTS NANJING NORATECH PHARMACEUTICAL CO., LIMITED
                 AND GERBERA THERAPEUTICS, INC.’S
           NOTICE OF DEPOSITION OF ADAM J. MATZGER, PH.D.


       PLEASE TAKE NOTICE that pursuant to Rule 30(b)(1) of the Federal Rules of Civil

Procedure, Defendants Nanjing Noratech Pharmaceutical Co., Limited (“Noratech”) and Gerbera

Therapeutics, Inc., through their undersigned counsel, will take the video deposition by oral

examination of Adam J. Matzger, Ph.D.

       The deposition will take place remotely on October 23, 2024, beginning at 9:00 a.m.

Eastern Time, and will continue until completed, and will be conducted/attended remotely,

utilizing web-based deposition options, and/or remote video conferencing and video recording

with details for remote access to be circulated separately among counsel, or at such other time and

place as counsel may agree.
Case 1:20-md-02930-RGA            Document 1598 Filed 10/21/24               Page 2 of 2 PageID #:
                                           57317



       The deposition will be taken by videoconference before a court reporter or other person

authorized by law to administer oaths, or by a stipulated oath, and will be recorded by stenographic

and audio-visual means. The deposition will be taken for the purposes of discovery, for use in the

present suit, for use at trial or a hearing in this case, and for such other purpose as permitted under

the Federal Rules of Civil Procedure.



 OF COUNSEL:                                        HEYMAN ENERIO
                                                    GATTUSO & HIRZEL LLP
 HUSCH BLACKWELL LLP
 Don Mizerk                                         /s/ Dominick T. Gattuso
 Matthew M. Kamps                                   Dominick T. Gattuso
 120 South Riverside Plaza, Suite 2200              300 Delaware Avenue, Suite 200
 Chicago, IL 60606                                  Wilmington, DE 19801
 (312) 655-1500                                     (302) 472-7311
 don.mizerk@huschblackwell.com                      dgattuso@hegh.law
 matt.kamps@huschblackwell.com
                                                    Attorney for Defendant Nanjing Noratech
 Thomas P. Heneghan                                 Pharmaceutical Co., Limited
 33 East Main, Suite 300
 Madison, WI 53703
 (608) 234-6032
 tom.heneghan@huschblackwell.com

 Dated: October 21, 2024
